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                      IN THE UNITED STATES DISTRICT COURTF
                       FOR THE WESTERN DISTRICT OF TEXAS
                                                                         I   LE
                                 AUSTIN DIVISION
                                                                                0 12022
CANDACE D. ARLEDGE,
INDIVIDUALLY, AND ON BEHALF
                                            §                     CLERK, U.S. 018     dr COURT
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OF ALL OTHERS SIMILALY                                             BY               L4V
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SITUATED,                                   §
              PLAINTIFF,                    §
                                            §    CAUSE NO. 1:21 -CV-974-LY
V.                                          §
                                            §
 HARLEY DAVIDSON FINANCIAL                  §
 SERVICES, INC.,                            §
                 DEFENDANT.
                                         ORDER

       Before the court are Plaintiff Candace Arledge's Unopposed Motion to Amend Complaint

(Doe. #14), Defendant Harley-Davidson Financial Services, Inc's Partial Motion to Dismiss

Plaintiffs Complaint (Doe. #11), and all related briefing. Having reviewed the motions and

applicable law,

       IT IS ORDERED that Plaintiff Candace Arledge's Unopposed Motion to Amend

Complaint (Doe. #14) is GRANTED. Count II of Plaintiffs original Class Action Complaint

(Doe. #1) is DISMISSED WITH PREJUDICE.

       IT IS FURTHER ORDERED that Defendant Harley-Davidson Financial Services, Inc's

Partial Motion to Dismiss Plaintiff's Complaint (Doe. #11) is DISMISSED AS MOOT.

       SIGNED this              day of March, 2022.




                                          UNITED STATES DISTRICT JUDGE
